 8:05-cr-00086-RGK-DLP   Doc # 39   Filed: 05/04/05   Page 1 of 1 - Page ID # 83



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                  8:05CR86
           v.                        )
                                     )
KIMBERLY J. SNYDER, ANGELA B.        )
FRYE, NICHOLE F. FRYE,               )                   ORDER
HEATHER M. ELLIS,                    )
                                     )
                Defendants.          )
                                     )



     On the court’s own motion,

     IT IS ORDERED:

     The evidentiary hearing on defendant Angela Frye’s motion
to suppress evidence, filing 28, is continued from May 12 to
June 16, 2005 at 2:30 p.m. in the Special Proceedings Courtroom,
Roman L. Hruska United States Courthouse, Omaha, Nebraska.

     DATED this 4th day of May, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
